            Case 1:11-cr-00357-AWI-BAM Document 69 Filed 01/10/14 Page 1 of 2



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 6 United States of America

 7                            IN THE UNITED STATES DISTRICT COURT

 8                               EASTERN DISTRICT OF CALIFORNIA

 9

10   UNITED STATES OF AMERICA,                             1:11-CR-00357 AWI
11                                Plaintiff,               STIPULATION REGARDING
                                                           CONTINUANCE; ORDER
12                 v.
13   RENEY BOUASANGOUANE,
14                                Defendant.
15

16                                STIPULATION RE: CONTINUANCE
17          Plaintiff United States of America, by and through its counsel of record, and defendant, by
18 and through his counsel of record, hereby stipulate as follows:

19
            1.     By previous order, this matter was set for sentencing on January 13, 2014, at 10:00
20
     a.m.
21
            2.     By this stipulation, the parties now move to continue the sentencing to March 10,
22
23 2014, at 10:00 a.m.

24 DATED:          January 9, 2014.        Respectfully submitted,

25                                         BENJAMIN B. WAGNER
                                           United States Attorney
26
                                           /s/ Karen A. Escobar___________________
27                                         KAREN A. ESCOBAR
                                           Assistant United States Attorney
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         Case 1:11-cr-00357-AWI-BAM Document 69 Filed 01/10/14 Page 2 of 2


     DATED:     January 9. 2014.   /s/ Carol Moses
 1                                 CAROL MOSES
                                   Counsel for Defendant Reney Bousangouane
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 3

 4                                       ORDER
 5 IT IS SO ORDERED.

 6 Dated: January 9, 2014

 7                                      SENIOR DISTRICT JUDGE

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